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                                                                                                    March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                       CONSENT TO PROCEED BY
                                                                                VI DEOCONFERENCE
                             -v-
                                                                                     -CR-_ _ _( _ ) ( _ )

PATRICK MENSAH
                                       Defendant(s).
-----------------------------------------------------------------X

Defendant PATRICK MENSAH                                                   hereby vo luntarily consents to
participate in the following proceeding via videoconferencing:

X        Initial Appearance/Appointment of Counsel

         Arraignment {If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

         Preliminary Hearing on Felony Complaint

X        Bail/Revocation/Detention Hearing

         Status and/or Scheduling Conference

         Misdemeanor Plea/Trial/Sentence




          s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)



Print Defendant's Name                                               Print Defense Counsel's Name



This proceeding was conducted by reliable videoconferencing technology.



  11/5/2020
Date                                                                 U.S. Magistrate Judge
